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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


U NITED S TATES OF A MERICA
                                         Criminal Action No.
      v.
                                         1:18-cr-00309-LMM-LTW
C HALMER D ETLING , II
 A/K/A CHUCK DETLING


           Motion in Limine to Exclude Hearsay Testimony

   The United States of America, by Kurt R. Erskine, Acting United

States Attorney, and Alex Sistla and Samir Kaushal, Assistant United

States Attorneys for the Northern District of Georgia, files this Motion

in Limine to Exclude Hearsay Testimony. Specifically, the government

seeks an order precluding defendant Chalmer Detling II from eliciting

from trial witnesses his own statements made during a deposition
conducted by the State Bar of Georgia.

                             Background

   Detling is charged with seven counts of wire fraud, in violation of 18
U.S.C. § 1343, and eight counts of aggravated identity theft, in

violation of 18 U.S.C. § 1028A. Detling’s scheme involved defrauding

his clients and financing companies while working as an attorney.
Before an indictment was returned in this case, Detling was the subject

of multiple disciplinary proceedings conducted by the State Bar of

Georgia, In the Matter of Chalmer E. Detling, II, State Bar Number
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219500, State Disciplinary Docket Nos. 6640, 6772, and 6804. As part

of the State Bar’s investigation, Detling was deposed on June 6, 2016,

regarding allegations that, inter alia, he fraudulently obtained

litigation advances from financing companies in the names of his

clients. During the deposition, Detling offered self-serving explanations

for his conduct. The government contends that Detling should be

prohibited from eliciting his prior statements made during the

deposition from witnesses at trial.

                               Argument

   Detling cannot introduce his prior statements from the June 6, 2016,

deposition conducted by the State Bar of Georgia through the testimony

of other witnesses because those statements are inadmissible hearsay.

See Fed. R. Evid. 801; United States v. Willis, 759 F.2d 1486, 1501

(11th Cir. 1985); United States v. Cunningham, 194 F.3d 1186, 1199

(11th Cir. 1999) (“[A] defendant cannot attempt to introduce an

exculpatory statement made at the time of his arrest without
subjecting himself to cross-examination.”); United States v. Vernon, 593

F. App’x 883, 890 (11th Cir. 2014) (same). The Eleventh Circuit’s

discussion in Willis is instructive. There, the Eleventh Circuit, in

upholding the district court’s ruling that the defense could not elicit a

defendant’s “allegedly exculpatory statements at the time of his arrest”

through cross-examination of an agent, explained that such questioning

was “precisely what is forbidden by the hearsay rule.” Willis, 759 F.2d
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at 1501. A defendant cannot place his own prior “remarks before the

jury without subjecting [himself] to cross-examination.” Id. Detling

eliciting his own deposition statements through trial witnesses is the

same scenario as described in Willis and calls for the same result—

prohibition of the defense from eliciting such testimony. 1

                                  Conclusion

   For the reasons stated above, the government moves this Court to

preclude Detling from eliciting from any trial witness his own

statements made during the June 6, 2016 deposition conducted by the

State Bar of Georgia.

                                        Respectfully submitted,

                                        K URT R. E RSKINE
                                           Acting United States Attorney




   1If Detling seeks to introduce any other self-serving statements
from the State Bar proceedings, the government respectfully submits
that such statements should, likewise, be excluded. The government
notes, however, that it has filed a separate motion in limine seeking a
pretrial ruling allowing it to introduce any of Detling’s statements
and/or submissions in the State Bar proceedings as admissible under
Federal Rules of Evidence 801(d)(2)(A), 801(d)(2)(C), and 801(d)(2)(D).
          600 U.S. Courthouse, 75 Ted Turner Drive S.W., Atlanta, GA 30303
                         (404) 581-6000 fax (404) 581-6181

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                                  /s/ A LEX S ISTLA
                                         Assistant United States Attorney
                                     Georgia Bar No. 845602
                                     Alex.Sistla@usdoj.gov


                                  /s/ S AMIR K AUSHAL
                                         Assistant United States Attorney
                                     Georgia Bar No. 935285
                                     Samir.Kaushal@usdoj.gov




       600 U.S. Courthouse, 75 Ted Turner Drive S.W., Atlanta, GA 30303
                      (404) 581-6000 fax (404) 581-6181

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                          Caitlyn Wade

                          Suzanne Hashimi

                          Counsel for Chalmer Detling II


August 17, 2021


                                     /s/ A LEX S ISTLA

                                     A LEX S ISTA

                                     Assistant United States Attorney
